     Case 3:06-cv-01192-L-CAB Document 49 Filed 11/16/07 PageID.276 Page 1 of 1



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 8                                    UNITED STATES DISTRICT COURT

 9                                 SOUTHERN DISTRICT OF CALIFORNIA

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      ANTHONY RASHAD JOHNSON                                     Civil No.   06cv1192-L (CAB)
11    CDC #F-39513,
12                                              Plaintiff,       ORDER DENYING PLAINTIFF’S
                                                                 REQUEST TO ENTER DEFAULT
13                            v.

14    SAN DIEGO METROPOLITAN TROLLEY
      SYSTEMS; and A. CAMPBELL,
15                                           Defendants.
16
17          Plaintiff, a state prisoner proceeding pro se, has filed a civil rights complaint pursuant to 42
18   U.S.C. § 1983. Before the Court is Plaintiff’s “Request to Enter Default.” [Doc. No. 48.] The document
19   purports to request default as to defendants “S.D. Transit System and S.D. Trolley, Inc.” Defendants
20   San Diego Metropolitan Transit System and San Diego Trolley, Inc., have filed a Motion to Dismiss the
21   4th Amended Complaint. [Doc. No. 47]. That motion is set for hearing before this Court on December
22   6, 2007 (no oral argument required). Under Fed. R. Civ. P. 12(a), the motion to dismiss is considered a
23   responsive pleading. Therefore, the Request to Enter Default is moot and is DENIED.
24   IT IS SO ORDERED.
25
26   DATED: November 16, 2007
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28                                                           CATHY ANN BENCIVENGO
                                                             United States Magistrate Judge

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